Case 5:20-cv-01429-XR Document 1-3 Filed 12/15/20 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

 

Western District of Texas

 

 

MELANIE WHITLEY )
)
)
)
Plaintiff(s) )
v. Civil Action No. 5:20-cv-01429
THE CITY OF SAN ANTONIO, THE CITY OF SAN )
ANTONIO POLICE DEPARTMENT AND MISTY )
FLOYD )
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

The City of San Antonio

By and through:

City Attorney: Andrew Segovia
3rd Floor City Hall

100 Military Plaza

San Antonio, Texas 78205

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: Kelly Kelly

Anderson & Associates Law Firm
2600 SW Military Drive, Suite 118
San Antonio, Texas 78224

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk
Case 5:20-cv-01429-XR Document 1-3 Filed 12/15/20 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 

Civil Action No. 5:20-cv-01429

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()))

This summons for (name of individual and title, if any)

 

was received by me on (date)

 

 

[1 I personally served the summons on the individual at (place)

on (date) > or

 

[I I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

CO I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

on (date) > or
CO I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc:
